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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


    Alan E. Robles,

                           Plaintiff,       Case No. 1:16-cv-02050

    v.                                      Michael L. Brown
                                            United States District Judge
    QuikTrip Corporation,

                           Defendant.

    ________________________________/

                                     ORDER

         The parties have announced that this case has settled. The jury

trial set for July 23, 2018, is CANCELLED. The Court DIRECTS the

Clerk of Court to ADMINISTRATIVELY CLOSE this case. The parties

shall file a dismissal or other filing disposing of this case upon

finalization of the settlement. If settlement negotiations fail, the parties

shall promptly move to reopen the case.1




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  Administrative closure is a docket-control device used by the Court for statistical
purposes. The parties need only file a motion to reopen the case if settlement
negotiations fail. Administrative closure will not prejudice the rights of the parties
to this litigation in any manner.
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     IT IS SO ORDERED.



Dated: July 19, 2018
Atlanta, Georgia




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